Case 1:22-cv-10904-JSR Document 226-26 Filed 07/24/23 Page 1 of 6




                     EXHIBIT 25
     Case 1:22-cv-10904-JSR Document 226-26 Filed 07/24/23 Page 2 of 6

                                                                         1


1               IN THE UNITED STATES DISTRICT COURT

2               FOR THE SOUTHERN DISTRICT OF NEW YORK

3

4      GOVERNMENT OF THE UNITED STATES
       VIRGIN ISLANDS,
5
                         Plaintiff,
6
       v,                                      No. 22-cv-10904-JSR
7
       JPMORGAN BANK, N.A.,
8
                      Defendant.
9      _________________________________
       JPMORGAN CHASE BANK, N.A.,
10                Third-Party Plaintiff

11     v.

12     JAMES EDWARD STALEY,
       Third-Party Defendant.
13     __________________________________

14                THE ORAL DEPOSITION OF ALBERT BRYAN, JR. was

15     taken on the 6th day of June, 2023, at the Law Offices

16     of Joel Holt, 2132 Company Street, Christiansted, St.

17     Croix, U.S. Virgin Islands, between the hours of 8:42

18     a.m. and 3:47 p.m. pursuant to Notice and Federal Rules

19     of Civil Procedure.

20                        ____________________
                              Reported by:
21
                            DESIREE D. HILL
22                     Registered Merit Reporter
                       Hill's Reporting Services
23                          P.O. Box 307501
                      St. Thomas, Virgin Islands
24                           (340) 777-6466

25
     Case 1:22-cv-10904-JSR Document 226-26 Filed 07/24/23 Page 3 of 6

                    ALBERT BRYAN, JR. -- DIRECT                          57


1                   (Deposition Exhibit No. 4 was

2                    marked for identification.)

3            A.     Yes.

4            Q.     And Reuters is not a tabloid, right?

5            A.     Right.

6            Q.     It's the kind of source you would read?

7            A.     Right.

8            Q.     All right.    And you see what this is

9      reporting on the Guilty plea to a felony by

10     Mr. Epstein, right?

11           A.     Yes.

12           Q.     All right.    And you'll see in the fourth

13     paragraph of the article, it says that the "Guilty

14     plea is the latest twist in a case stemming from a

15     lengthy probe by Palm Beach police that reputed

16     billionaire paid several girls under 18 in return for

17     naked massages in his Palm Beach home that sometimes.

18     Involved alleged sexual assaults," you see that?

19           A.     Yes.

20           Q.     Serious stuff, right?

21           A.     This is.

22           Q.     Do you recall about knowing about these

23     allegations at the time that you voted to approve his

24     EDC extension?

25           A.     Like I said, I was only aware that he
     Case 1:22-cv-10904-JSR Document 226-26 Filed 07/24/23 Page 4 of 6

                    ALBERT BRYAN, JR. -- DIRECT                          58


1      copped a plea to having sex with a hooker who was

2      under age.

3            Q.     All right.    You're saying you were not

4      aware that he was alleged to have paid several girls

5      under 18 in return for naked massages?

6            A.     I may have been aware.

7            Q.     Were you aware that those massages

8      sometimes involved alleged sexual assaults?

9            A.     No.

10           Q.     So that fact published by Reuters -- or

11     that allegation that had been published by Reuters in

12     June of 2008, was not something that you learned or

13     knew when you were voting to extend the benefits to

14     Mr. Epstein in 2009?

15           A.     Not particularly, no.

16           Q.     Okay.   Did you ever hear the reporter named

17     Wayne Barrett was looking into the extension of

18     benefits to Mr. Epstein?

19           A.     Not to my knowledge.

20           Q.     Okay.   Would you have expected if an

21     investigative reporter was looking into the actions of

22     the EDC while you were the chair, that people at the

23     EDC would have brought that to your attention?

24                  MR. ACKERMAN:     Object to form.

25                  THE WINESS:     I don't know.    I'm
     Case 1:22-cv-10904-JSR Document 226-26 Filed 07/24/23 Page 5 of 6

                    ALBERT BRYAN, JR. -- DIRECT                      227


1            Q.     How did you learn that Jeffrey Epstein had

2      been arrested again?

3            A.     Probably in the papers, TV or some kind of

4      media.

5            Q.     What did you do?

6                   MR. ACKERMAN:     Objection to form.

7                   THE WITNESS:     Nothing.

8            Q.     (By Mr. Neiman:)     Did you ever learn what

9      the new charges were?

10           A.     I wasn't really interested, you know, to

11     tell you the truth.

12           Q.     Okay.    Let's take a look at -- do you

13     remember having conversation with somebody named

14     Richard Motta?

15           A.     Richard is my director of Communications.

16           Q.     Do you remember having communications with

17     Mr. Motta about what to do about press inquiries

18     related to Jeff Epstein after the news of his 2019

19     arrest?

20                  MR. ACKERMAN:     Objection to form.

21                  THE WITNESS:     Vaguely.

22           Q.     (By Mr. Neiman:)     What do you remember?

23           A.     I remember having my director of

24     Communications.      So, I mean, something like that, he

25     would definitely, if he gets press inquiries, he
     Case 1:22-cv-10904-JSR Document 226-26 Filed 07/24/23 Page 6 of 6

                    ALBERT BRYAN, JR. -- DIRECT                      239


1      seen this article at the time it came out?

2            A.     No.

3            Q.     Why not?

4            A.     I mean, I'm not particularly, you know --

5      I wasn't following the Epstein thing, to be quite

6      honest.

7            Q.     You see in the second page of the article,

8      it reads, "While at least one individual has said in a

9      civil lawsuit in New York that she was sexually abused

10     at Epstein's home on Little St. James."

11           A.     Yes.

12           Q.     That would be a topic of interest to you,

13     wouldn't it?

14           A.     (Witness reading article.)       Yes.

15           Q.     You don't remember learning that in July of

16     2019?

17           A.     No, I don't.     I remember the attorney

18     general making a public statement that said, None of

19     these victims were from the Virgin Islands.          That's

20     what I remember.     At that point, I turned my

21     attention elsewhere.

22                  MR. ACKERMAN:     Still want to take

23           a break?

24                  THE WITNESS:     You were saying

25           after the document.
